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MOTION TO RECONSIDER AND SET ASIDE ORDER OF DISMISSAL PAGE 1 OF 2

Re: Chaim Levilev Case Number: 6:24-bk-03843-LVV

PETITION IN THE FORM OF A MOTION

In re:
“Chaim Levilev ae Case No.:
Debtor Date: 8/29/2024 @ 4:46PM via: email 6:24-bk-03843-Lw

Chapter 7

Clerk, U: S. Bankruptcy
Oriando Division

MOTION TO RECONSIDER AND SET ASIDE ORDER OF DISMISSAL
Dear Honorable Judge Lori V. Vaughan:

I, Chaim Levilev, the debtor in the above-captioned case, respectfully submit this Motion to
Reconsider and Set Aside the Order Dismissing my Chapter.7 Bankruptcy Case, attached
Exhibit A. | am filing this Motion pro se, and I sincerely apologize for any mistakes | may have
made in the process. This is all new to me, and | am trying my best to navigate the system and
comply with all requirements in accordance with the laws and timeframes.

1. Addressing the Filing Fee:
| misunderstood the process and thought I had successfully filed a waiver for the filing fee, so |
was unaware that the fee still needed to be paid. | assure the Court that this oversight was not
intentional. To correct this, | have submitted herein a cashier’s check for $338.00, made
payable to the Clerk, U.S. Bankruptcy Court, as required by 28 U.S.C. § 1930.

2... Addressing Missing Schedules G-H:
| also wish to address the issue of the missing Schedules G-H. The omission of these
‘ schedulés was completely accidental and not done intentionally. To. rectify this, !am filling
both Schedules G and H herein and attaching them to this Petition and Motion.

In light of the above, | respectfully request that the Court reconsider its Order of Dismissal and
reinstate my Chapter 7 Bankruptcy case. | understand the importance of complying with the

Court’s requirements and have made every effort to correct the issues that led to the dismissal.

| sincerely apologize for any inconvenience this may have caused and appreciate the Court's
understanding and consideration of this matter.

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MOTION TO RECONSIDER AND SET ASIDE ORDER OF DISMISSAL | PAGE 2 OF 2
Re: Chaim Levilev Case Number: 6:24-bk-03843-LVV
WHEREFORE,

| respectfully request that this Honorable Court:.
1. Reconsider and set aside the Order Dismissing my Chapter 7 Bankruptcy Case;
2. Reinstate my Chapter 7 Bankruptcy case; and
3. Grant any further relief that the Court deems just and proper.

Thank you for your attention to this matter.

Respectfully submitted,

Chaim Levilev

2 Fernmeadow Lane
Ormond Beach, FL 32174

Signed:

Dated:

MOTION TO RECONSIDER AND SET ASIDE ORDER OF DISMISSAL . PAGE 2 OF 2
